       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Major Lance Hillman
       v. Commonwealth of Virginia
       Record No. 0287-17-3
       Opinion rendered by Judge Malveaux on
        April 3, 2018

    2. Patrick Darnell Hill
       v. Commonwealth of Virginia
       Record No. 0482-17-1
       Opinion rendered by Judge O’Brien on
        April 24, 2018

    3. Leslie Itutu Camp
       v. Commonwealth of Virginia
       Record No. 0483-17-2
       Opinion rendered by Judge Russell on
        May 8, 2018
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Ashley Jennifer White
   v. Commonwealth of Virginia
   Record No. 1322-16-3
   Opinion rendered by Judge Petty
    on September 19, 2017
   Refused (171543)

2. Aaron Markeith Gerald
   v. Commonwealth of Virginia
   Record No. 0731-16-1
   Opinion rendered by Judge Humphreys
    on October 17, 2017
   Refused (171405)

3. Angel Alexis Cartagena, a/k/a
    Veguilla Angel Alexis Cartegena
   v. Commonwealth of Virginia
   Record No. 2002-16-1
   Opinion rendered by Judge Russell
    on November 28, 2017
   Refused (171718)
